      Case 23-13359-VFP            Doc 1195-1 Filed 07/06/23 Entered 07/06/23 09:06:15                         Desc
                                    Notice of Transcript Filed Page 1 of 1
Form tsntc

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 23−13359−VFP
                                          Chapter: 11
                                          Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Bed Bath & Beyond Inc.
   650 Liberty Avenue
   Union, NJ 07083
Social Security No.:

Employer's Tax I.D. No.:
  11−2250488




                                      Notice That a Transcript Has Been Filed



        You are Noticed that a Transcript has been filed on 7/6/23. Pursuant to the Judicial Conference Policy on
Privacy, access to this transcript is restricted for a period of ninety days from the date of filing. The transcript may be
viewed at the Bankruptcy Court Clerk's Office. [For information about how to contact the transcriber, please call the
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financial account data, names of minor−age children, dates of birth, and home addresses. If redaction is requested,
the filing party has twenty−one calendar days from the date the transcript was filed to file a list of items to be
redacted indicating the location of the identifiers within the transcript with the court and to provide the list to the
transcriber. The transcriber has thirty−one days from the date the list of items to be redacted was filed to file the
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available to the general public after the ninety days.




Dated: July 6, 2023
JAN:

                                                                   Jeanne Naughton
                                                                   Clerk
